                        IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                STATESVILLE DIVISION
                                   5:11-CV-00068-RLV
                              (5:05-CR-00009-RLV-DCK-3)

SHONIKA GAIL ECKLES,                       )
                                           )
               Petitioner,                 )
                                           )
        v.                                 )                       ORDER
                                           )
UNITED STATES OF AMERICA,                  )
                                           )
               Respondent.                 )
                                           )

       TO:     Terry O’Brien
               Warden, United States Penitentiary, Hazelton
               1640 Sky View Drive
               Bruceton Mills, WV 26525

       This Court has scheduled an evidentiary hearing by videoconference for September 2,

2014, at 3:00 p.m., in order to receive evidence regarding a claim for relief raised by Petitioner

Eckles in her motion to vacate, set aside or correct sentence, which she filed pursuant 28 U.S.C.

§ 2255. It is hereby requested that USP Hazelton make all appropriate arrangements to

coordinate with this Court’s staff for this appearance by Petitioner Eckles, including performing

a “test call” no later than August 27, 2014. USP is requested to contact Kent Creasy, Automation

for the United States District Court for the Western District of North Carolina, (704) 350-7424,

in order to make these arrangements.

       IT IS SO ORDERED.

 Signed: August 20, 2014




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